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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                        Case No. 20-20397-CIV-GRAHAM


  GREAT LAKES INSURANCE SE,

         Plaintiff,
  v.

  WAVE CRUISER LLC,

         Defendant.
                                             /


               ORDER ON CROSS MOTIONS FOR SUMMARY JUDGMENT

         THIS CAUSE comes before the Court on Defendant Wave Cruiser

  LLC’s Motion for Summary Judgment (ECF No. 22) and Plaintiff Great

  Lakes Insurance SE’s Motion for Summary Judgment (ECF No. 24).

         THE COURT considers the motions, the relevant portions of the

  record and is otherwise fully advised in the premises. For the

  reasons set forth below, Defendant’s Motion for Summary Judgment

  (ECF No. 22) is denied and Plaintiff’s Motion for Summary Judgment

  (ECF No. 24) is granted.

         I.   BACKGROUND

         On or about April 25, 2019, Plaintiff, Great Lakes Insurance

  SE (hereinafter “GLI”) issued Policy No. CSRYP/175137 to Defendant

  Wave    Cruiser     LLC   (hereinafter    “Wave   Cruiser”)    to   provide

  $310,000.00 in first-party property damage insurance coverage for



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  the sport fish vessel named “HookM” (hereinafter the “Vessel”).(ECF

  No. 1). The Policy was issued on behalf of GLI by its underwriting

  and claims handling agent, Concept Special Risks Ltd. (hereinafter

  “Concept”). The Policy is an “all risk” marine insurance policy.

  (ECF No. 22-1). The Policy’s “Period of Cover” was from April 25,

  2019 to April 25, 2020. Id.

  Terms of Coverage

        Subject    to   the   express   and   implied   terms,   conditions,

  warranties, and exclusions, the Policy afforded coverage against

  “accidental physical loss or damage” to the Vessel. (ECF No. 22-1).

  The Policy expressly excluded coverage for damage to the Vessel’s

  engines, mechanical parts, and electrical parts, unless such damage

  was caused by an accidental “external” event. In pertinent part, the

  policy language provides:


              Exclusions to Coverage A

             r. Damage to the Scheduled Vessel’s engines,
        mechanical and electrical parts, unless caused by an
        accidental external event such as collision, impact with
        a fixed or floating object, grounding, stranding,
        ingestion of foreign object, lightning strike or fire.


        The Policy also contained a choice of law clause requiring the

  application of federal admiralty law or, absent an established rule

  of federal admiralty law, the laws of the State of New York. (ECF

  No. 22-1)


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  The Incident

        On June 16, 2019, during the period of coverage and while

  operating within the Policy’s navigational limits, the Vessel’s

  port engine suffered a catastrophic failure. (ECF No. 22-2).

  Specifically, the port engine “sustained a sudden and catastrophic

  failure,     which    caused      severe       damage   to    the   engine   block,

  crankshaft, camshaft, connecting rods, pistons and several internal

  components.” (ECF No. 22-5, p.2). Prior to the loss, the engines

  were properly maintained and serviced by professional marine diesel

  technicians, including a 2500-hour service and were reported to be

  in   great   shape.    The   engine       had    been   recently    inspected     and

  confirmed to be mechanically sound. (ECF No. 22-3). The engine was

  operated seventeen hours between the time of the inspection and the

  time of engine failure. (ECF No. 22-5, p. 2). The engine’s failure

  occurred well before the end of the engine’s projected lifespan.

  (ECF No. 22 at ¶11).

  Notification of Loss

        On or about June 24, 2019, Alliance Marine Risk Managers

  (hereinafter “Alliance”), acting as agent for Wave Cruiser, timely

  and properly, reported that the Vessel’s port engine had suffered a

  catastrophic    failure      on    June    16,    2019,      that   the   cause   was

  undetermined, and that complete engine replacement was required.(ECF

  No. 25-3). On June 26, 2019, Concept assigned Arnold & Arnold, Inc.


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  to investigate the causes and circumstances of the loss. (ECF No.

  25-4).

  Captain Allen’s First Survey

        On July 1, 2019, Captain Ian D. Allen (hereinafter “Capt.

  Allen”) of Arnold & Arnold Inc. examined the Vessel’s port engine.

  (ECF No. 25-5). In his July 10, 2019 “First Report”, Capt. Allen

  noted that the “root cause of the internal failure can only then be

  identified by removal and disassembly of the engine.” (ECF No. 25-

  5, p. 4). Capt. Allen also noted no evidence of external causation.

  (ECF No. 25-5, p. 5).

        On July 24, 2019, Capt. Allen sent Plaintiff his “Reservation

  of Rights” letter stating in pertinent part:

             As you know, your Underwriters have assigned us the
        investigation and adjustment of this matter. They have
        directed us to notify you their investigation of this
        claim is being done under a Reservation of Rights.
        Because the investigation into this matter is complex and
        ongoing, Underwriters have not been provided sufficient
        information to confirm or deny coverage. Pending further
        investigation, Underwriters have instructed us to inform
        you they are reserving their rights and defenses under
        the policy for reason enumerated below:

             • There is no evidence of external causation. The
        policy language provides and excludes:

             r) Damage to the Scheduled Vessel’s engines,
        mechanical and electrical parts, unless caused by an
        accidental external event such as collision, impact with
        a fixed or floating object, grounding, stranding,
        ingestion of foreign object, lightning strike or fire.

        (Reservation of Rights Letter dated July 24, 2019, ECF No. 22-


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  4).

  Captain Allen’s Second Survey

        On October 9, 2019, after the port engine was removed and

  broken down at Wave Cruiser’s expense, Capt. Allen examined the

  Vessel again, this time in conjunction with the owner of the

  vessel, an assistant, and an engine Mechanic from Scott Marine.

  (ECF No. 25-7). Based on this second examination of the port engine,

  Capt. Allen noted in his Status Report dated October 14, 2019 that

  it “appeared that the engine had never been disassembled.” Capt.

  Allen also noted that “clamshells were found on the intake side of

  the pump;” he “could not determine how the clamshells entered [t]he

  intake; and though “such marine organisms would restrict intake

  flow, there was no evidence of the engine overheating.” (ECF No.

  25-7, p.2). Capt. Allen testified in his deposition that because

  the clamshell was larger than the intake strainer, “there is no way

  it would have been sucked in.” (Deposition of Capt. Allen, p.77: 1-

  2, ECF 49-1). Capt. Allen observed elongation of the connecting

  rod, which is evidence of damage occurring over a long period of

  time, rather than in a sudden failure. Id. Capt. Allen noted “no

  evidence of damage to the propellers that would indicate a bottom

  strike.” (ECF No. 25-7, p.3). Capt. Allen concluded in his status

  report that:




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        the exact part to fail first below cylinders one            and   six
        cannot be determined with certainty. However, we            can   say
        with certainty that there was excess friction               at    the
        cylinder one and six connecting rod journal                 and    an
        internal engine failure did occur in this area.

        (Capt. Allen’s report of October 14, 2019, ECF No. 25-7, p.3).

        Based on this second examination of the port engine, Capt.

  Allen noted that because there was no evidence that the internal

  failure of the port engine was caused by an external event, GLI

  should continue to reserve its rights under the policy. Id.

  Denial of Coverage

        On November 5, 2019, nearly one month after Capt. Allen

  completed his second inspection, Wave Cruiser’s counsel received a

  “Denial of Claim” letter in which GLI denied coverage for Wave

  Cruiser’s    claim   because   there       “was   no   evidence   of    external

  causation.” (ECF No. 22-11).

  Procedural History

        On January 29, 2020, GLI filed this action seeking a judgment

  declaring that:      (1) the Policy does not afford coverage for the

  incident of June 16, 2019 in which the Vessel suffered damage to

  its port engine; (2) neither the incident of nor the damage

  resulting from the incident constitutes an accidental physical

  loss; and (3) coverage for the incident is excluded under the terms

  of clear and unambiguous exclusions set forth in the Policy. (ECF

  No. 1).


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        On April 2, 2020, Wave cruiser filed its Counterclaim, which

  includes two counts. (ECF No. 6).            In Count I Wave Cruiser alleges

  that GLI breached the contract of insurance by failing to cover the

  loss. Specifically, Wave Cruiser asserts that GLI breached the

  insurance contract by denying coverage when it was unable to

  determine the cause of the loss and could not show that the loss

  was the result of an excluded cause. Id.               Also, Count I alleges

  that GLI breached the insurance contract by failing to timely and

  thoroughly investigate the claim. Id. In Count II Wave Cruiser

  alleges that GLI “breached the covenant of good faith and fair

  dealing   by   failing   to   act   in       good   [faith]   to   settle   [Wave

  Cruiser]’s claim.” (ECF No. 6).

        The matter is now before the Court on the parties’ cross-

  motions for summary judgment. (ECF No. 22 and 24).

        II. STANDARD OF REVIEW

         Summary judgment is proper “if the pleadings, depositions,

   answers to interrogatories, and admissions on file, together with

   the affidavits, if any, show that there is no genuine issue as to

   any material fact and that the moving party is entitled to a

   judgment as a matter of law.” Fed. R. Civ. P. 56(c). The burden of

   establishing the absence of a genuine issue of material fact lies

   with the moving party. Celotex Corp. v. Catrett, 477 U.S. 317,

   323, 106 S. Ct. 2548, 91 L.Ed.2d 265 (1986). A court’s focus in


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   reviewing a motion for summary judgment is “whether the evidence

   presents a sufficient disagreement to require submission to a jury

   or whether it is so one-sided that one party must prevail as a

   matter of law.” Allen v. Tyson Foods, Inc., 121 F.3d 642, 646

   (11th Cir. 1997). The Court should not grant summary judgment

   unless it is clear that a trial is unnecessary, see Anderson v.

   Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91 L.Ed.2d

   202 (1986), and any doubts in this regard should be resolved

   against the moving party. Adickes v. S.H. Kress & Co., 398 U.S.

   144, 157, 90 S. Ct. 1598, 26 L.Ed.2d 142 (1970). This standard is

   not affected by the filing of cross motions for summary judgment,

   and the Court must determine for each side whether a judgment may

   be entered in accordance with Rule 56.

   III. DISCUSSION

         A.    Governing Law

         Federal courts have long considered actions involving marine

   insurance policies to be within the admiralty jurisdiction of the

   federal courts and governed by federal maritime law.         Wilburn Boat

   Co. v. Fireman's Fund Ins. Co., 348 U.S. 310, 321 (1955); Morrison

   Grain Co., Inc. v. Utica Mut. Ins. Co., 632 F.2d 424, 428 n. 4

   (5th Cir.1980) 1.    However, when neither statutory nor judicially



   1 All decisions of the former Fifth Circuit announced prior to
   October 1, 1981 are binding precedent in this circuit. United

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   created maritime principles provide an answer to a specific legal

   question, courts may apply state law provided that the application

   of state law does not frustrate national interests in having

   uniformity in admiralty law.        All Underwriters v. Weisberg, 222

   F.3d 1309, 1312 (11th Cir. 2000);          see also LaMadrid v. Nat'l

   Union Fire Ins. Co. of Pittsburgh, PA, 567 F. App'x 695, 699 (11th

   Cir. 2014) (“[I]n the absence of a controlling rule of federal

   maritime law, the interpretation or construction of a marine

   insurance contract is to be determined according to state law.”).

    In the case sub judice, the Policy at issue contain a choice-of-

   law provision that directs the Court to apply New York law in the

   absence of controlling federal maritime law. 2

         The fortuity doctrine, which guides the determination of

   coverage under all-risk insurance policies like the one at issue

   here, is “a creature of federal law.         Federal courts sitting in

   admiralty have been applying some variation of the fortuity rule

   in marine insurance cases for over a hundred years.”            Youell v.

   Exxon Corp., 48 F.3d 105, 110 (2d Cir.), cert. granted, judgment

   vacated on other grounds, 516 U.S. 801 (1995).        However, there are

   no material differences between Florida, New York, and federal



   States v. Fawcett, 522 F. App'x 644, 652 (11th Cir. 2013) (citing
   Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir.
   1981) (en banc)).
   2 The Parties do not dispute the validity, enforceability, or

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    maritime law as it relates to the fortuity analysis and the

    parties’ respective burdens of proof.          See Morrison Grain Co.,

    Inc., 632 F.2d at 428-29 (finding “the law of neither New York nor

    Florida to be materially different from maritime law”); LaMadrid,

    567 Fed. App’x at 700 (“[O]ur precedent makes clear that Florida

    law and federal maritime law are not materially different.”).

    Accordingly, as it relates to the determination of coverage and

    the corresponding burdens of proof, the Court will rely on federal

    maritime, New York and/or Florida law.

         B.    Cross-Motions for Summary Judgment

         The parties agree that a valid insurance policy exists; that

    the Vessel suffered damage to its port engine within the coverage

    period of the Policy; that the claim was timely and properly

    reported; and that Wave Cruiser fully cooperated with GLI. It is

    also undisputed that after completing its investigation, GLI could

    not determine the cause of the loss.

      1. Wave Cruiser’s Motion for Partial Summary Judgment

         Wave Cruiser requests the Court enter summary judgment in its

    favor on its breach of contract claim because GLI failed to carry

    its burden of proof to show the accidental or fortuitous loss is

    subject to a policy exclusion. (ECF No. 22). Specifically, because

    it is undisputed that GLI cannot show the cause of the Vessel’s


    applicability of the choice-of-law provision.
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    engine failure or that it was caused by an excluded internal event

    rather than a covered external event, it fails to show the loss is

    excluded by Exclusion r or any policy exclusion. Instead, Wave

    Cruiser asserts that it has carried its “light burden” of showing

    a fortuitous loss by showing the Vessel was well maintained,

    recently serviced and sea trialed, and the failure was sudden and

    unexpected. Further, the engines undisputed premature failure,

    under these circumstances, is consistent with an unexplained

    event. As there is no evidence that the loss is excluded by any

    policy exclusions, Wave Cruiser argues, GLI breached its insurance

    contract by denying coverage for its fortuitous loss.

      2. GLI’s Motion for Partial Summary Judgment

         Conversely, GLI seeks judgment on its Third Cause of Action,

    Exclusion for Damage to Engines, Etc., and Wave Cruiser’s Count I.

    (ECF No. 24). In its Third Cause of Action, GLI alleges that the

    damage to the Vessel’s engine was not caused by an accidental

    external event and therefore subject to Exclusion r of the Policy.

    (ECF No. 1 at p. 7).     Exclusion r bars coverage for any damage to

    engines unless such damage is caused by an external event. GLI

    contends that Wave Cruiser’s claim for damage to the port engine

    triggers the exception to Exclusion r; and Wave Cruiser bears the

    burden of proving those facts which trigger an exception to an

    exclusion. (ECF No. 24). Absent such evidence, GLI asserts, Wave


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    Cruiser fails to carry its burden of proving that the exception to

    Exclusion r applies. Id. GLI contends that there is no record

    evidence which indicates that an external event caused the damage

    to the port engine for which coverage is sought. (ECF No. 24).

    Therefore, GLI argues, it is entitled to a judgment that coverage

    for the loss claimed by Wave Cruiser is unambiguously barred by

    the express terms of Exclusion r. Id. Moreover, GLI asserts that

    because there can be no breach of the covenant of good faith and

    fair dealing where there is no breach of the contract, Wave

    Cruiser’s cause of action for breach of the covenant of good faith

    and fair dealing must necessarily be dismissed. Id.

              A. Burden Shifting Standard for All-Risk Policies

         The Parties agree that the Policy at issue is an all-risk

    policy.     The Policy states that GLI will provide coverage for

    “accidental physical loss of or damage to the Scheduled Vessel...”

    While the term “accident” or “accidental” is not defined, the

    Parties agree that “accident or “accidental” is synonymous with

    “fortuitous.”

         Generally speaking, “all-risk insurance policies cover all

    ‘fortuitous’    losses,   unless   the   policy   contains    a   specific

    provision expressly excluding the loss from coverage.”               Great

    Lakes Reinsurance (UK) PLC v. Kan-Do, Inc., 639 F. App'x 599, 601

    (11th Cir. 2016) (citation omitted).        “[S]uch a policy creates a


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    special type of coverage that extends to risks not usually covered

    under other insurance.”      LaMadrid, 567 F. App'x at 700.       “[A]ll-

    risk” does not mean all-loss,” however.          City of Burlington v.

    Indem. Ins. Co. of N. Am., 332 F.3d 38, 47 (2d Cir. 2003).

            “A fortuitous event is an event which so far as the parties

    to the contract are aware, is dependent on chance.             It may be

    beyond the power of any human being to bring the event to pass; it

    may be within the control of third persons; it may even be a past

    event, as the loss of a vessel [sic], provided that the fact is

    unknown to the parties.”      Morrison Grain Co., Inc., 632 F.2d at

    431 (quoting Restatement of Contracts § 291, cmt. a (1932)).            In

    other words, a loss may be deemed fortuitous or accidental where

    it was unforeseen, unexpected, unintended, unavoidable, or caused

    by the insured's own negligence.      See Great Lakes Reinsurance (UK)

    PLC v. Soveral, 2007 WL 646981, at *4 (S.D. Fla. Feb. 27, 2007);

    Morrison Grain Co., Inc., 632 F.2d at 431 (“[A] loss may be

    fortuitous even it if is occasioned by the negligence of the

    insured.”);     Redna Marine Corp. v. Poland, 46 F.R.D. 81, 87

    (S.D.N.Y. 1969) (“It is well established that where negligence,

    even on the part of the employees of the insured, causes a loss,

    that loss is fortuitous and within the coverage of all risks

    insurance.”).

         In contrast, fortuity excludes losses due to intentional


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    misconduct of the insured, inherent defect in the object damaged,

    fraud, and normal wear and tear.          City of Burlington, 332 F.3d at

    47–48; LaMadrid, 567 F. App'x at 700; Int'l Ship Repair & Marine

    Servs., Inc. v. St. Paul Fire & Marine Ins. Co., 944 F. Supp. 886,

    893 (M.D. Fla. 1996) (quoting Sipowicz v. Wimble, 370 F.Supp. 442,

    446 (S.D.N.Y. 1974), “[F]ortuitous events . . [are not] . . .

    losses occasioned by the incursion of water into a vessel's hull

    owing to the defective, deteriorated or decayed condition of the

    hull or ordinary wear and tear.”).

           To recover under an all-risk marine insurance policy, the

    insured must show (1) a fortuitous loss, and (2) proof that the

    loss   occurred   during   the    policy    period.   Banco   Nacional   De

    Nicaragua v. Argonaut Ins. Co., 681 F.2d 1337, 1340 (11th Cir.

    1982).    Here, it is undisputed that the loss occurred during the

    policy period.    Thus, the question before the Court is whether the

    damage to the Vessel constitutes a fortuitous loss.

           Wave Cruiser’s burden of showing a fortuitous loss is “not a

    particularly onerous one.”       See Morrison Grain Co., Inc., 632 F.2d

    at 430.   In fact, “all risks insurance arose for the very purpose

    of protecting the insured in those cases where difficulties of

    logical explanation or some mystery surround the (loss of or

    damage to) property.”      Id.    (internal quotation marks omitted).

    For this reason, the insured need not prove “the precise cause of


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    the loss or damage” to demonstrate fortuity.                Id.; see also Great

    N. Ins. Co. v. Dayco Corp., 637 F. Supp. 765, 777 (S.D.N.Y. 1986)

    (“The very purpose of an all risks policy is to protect the

    insured    in   cases    where    it    is    difficult        to    explain   the

    disappearance     of    the   property;      thus,    the   insured     need   not

    establish the cause of the loss as part of its case.”).

         Once Wave Cruiser meets its prima facie burden, then the

    burden shifts to GLI to show that the policy excludes or creates

    an exception to coverage.        See Morrison Grain Co., Inc., 632 F.2d

    at 429; Soveral, 2007 WL 646981, at *2; Ment Bros. Iron Works Co.

    v. Interstate Fire & Cas. Co., 702 F.3d 118, 121 (2d Cir. 2012).

    The insurer's burden is a “heavy one.”               AGCS Marine Ins. Co. v.

    World Fuel Servs., Inc., 187 F. Supp. 3d 428, 438 (S.D.N.Y. 2016).

    If GLI establishes that an exclusion applies, then the burden

    shifts back to Wave Cruiser to demonstrate that an exception to

    the exclusion applies.        See French Cuff, Ltd. v. Markel Am. Ins.

    Co., 322 F. App'x 669, 671 (11th Cir. 2009); Ment Bros. Iron Works

    Co., 702 F.3d at 122.

              B. Fortuity Analysis

         Wave Cruiser posits that the loss is covered because the

    Vessel    was   “well-maintained       and   the     failure   was    sudden   and

    unexpected.” (ECF. No. 22 at 7).          It is undisputed that the engine

    was recently serviced and sea trialed by a professional marine


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    diesel mechanic. It is also undisputed that the port engine failed

    before it should have.        Wave Cruiser asserts that, under these

    circumstances,      the   engine    failure        is   consistent     with     an

    unexplained event that, "so far as the parties are aware, is

    dependent on chance." Morrison Grain Co., Inc., 632 F.2d at 431

    (citation omitted). Id.

         In response, GLI argues that although in showing a fortuitous

    event Wave Cruiser does not have to offer any explanation for why

    the damage occurred, it still must identify the failed mechanism

    that caused the engine damage and loss. (ECF. No. 29). Because

    Wave Cruiser concedes that it cannot identify the broken mechanism

    which caused the engine damage, GLI argues there is nothing from

    which this Court might conclude that the engine damage was caused

    by a fortuitous event rather than a non-fortuitous event. GLI

    asserts that without identification of the broken mechanical

    component, fortuity cannot be shown and Wave Cruiser’s motion for

    summary judgment on the fortuity issue must be denied. Id.

         The   Court    rejects   GLI’s   argument.         Under   New   York    law,

    fortuity     is   generally   a   question    of    law   for   the   court    to

    determine.    Redna Marine Corp., 46 F.R.D. at 87 (stating that “the

    characterization of loss as ‘fortuitous' is a legal conclusion to

    be distinguished from the facts upon which it is based”). As

    previously stated, Wave Cruiser’s burden to show that the loss was


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    fortuitous   is   slight.   See   LaMadrid,   567   Fed.    Appx.   at   701.

    In LaMadrid, the Eleventh Circuit found that the insured carried

    its burden to demonstrate a fortuitous loss “by presenting expert

    testimony on the cause of the engine's failure, namely the failure

    of the relief valve, and by establishing that the unexplained loss

    occurred well before the end of the engine's projected lifespan.”

    Id. at 701-02.      The facts were undisputed.           Id. at 702.     The

    Eleventh Circuit held that the district court erred by requiring

    the insured to “pinpoint ‘why’ the relief valve failed.”             Id. at

    701.   The Eleventh Circuit found that “[t]o require Appellants to

    prove something more, such as the exact cause of the relief

    valve's failure, would be to require the insureds to prove the

    precise cause of the engine's failure or, stated otherwise, the

    ‘cause of the cause’ of the loss.”         Id. at 702.     According to the

    Court, “[r]equiring an insured to prove that a loss arose from a

    covered peril with such specificity seems contrary to the aims of

    an all-risk insurance policy.”       Id.

           Here, neither party has come forward with any expert evidence

    as to what caused the engine failure. Although the port engine was

    never examined by any expert acting on behalf of either party, the

    port engine was examined twice by Capt. Allen during post-incident

    examinations on July 1, 2019 and October 9, 2019. In both reports

    Capt. Allen noted that Delivery Captain Julio G. Grabiel, while


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    delivering the Vessel from Alabama to Miami, reported no rough

    weather, or anything unusual prior to the failure. (ECF NO. 25-7).

     Also, the Delivery Captain Grabiel reported the failure as sudden

    and unexpected. Capt. Allen observed no evidence of overheating,

    or over speed condition, or lube failure. Id. Capt. Allen reported

    that the “exact part to fail first below cylinders one and six

    cannot be determined with certainty.” Id. However, with certainty

    he reported “that there was excess friction at the cylinder one

    and six connecting rod journal, and an internal engine failure did

    occur in this area.” Id. In his deposition, Capt. Allen testified

    that “other than that a component failed in the crankshaft area,

    we    could    not   determine    the     specific      cause”      of   the   loss.

    (Deposition of Capt. Allen, 15: 12-16, ECF 49-1).

          Based on the above undisputed facts, Wave Cruiser has met its

    burden of demonstrating a fortuitous loss. More particularly, Wave

    Cruiser carried its light burden by establishing that the Vessel

    was   well    maintained;     recently    serviced      and   sea    trialed;    the

    failure      was   sudden   and   unexpected;     the     engine     was   operated

    seventeen hours between the time of the inspection and the time of

    engine failure; and the unexplained loss occurred well before the

    end   of   the     engine’s   projected       lifespan.    Finally,      after   two

    examinations of the Vessel, Capt. Allen determined that a failure,

    of a component in the crankshaft area caused the engine damage and


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    loss. Further, Capt. Allen testified that although he “know[s]

    internal components failed. Which ones failed first and caused the

    sequence of events...can’t [be] determined.” (Deposition of Capt.

    Allen, 82: 6-8, ECF 49-1). In other words, the cause of the cause

    of the failure is unknown. To require Wave Cruiser to prove the

    precise cause of the loss or damage under these circumstances is

    contrary to the aims of an all-risk insurance policy. LaMadrid,

    567 F. App'x at 702. Therefore, Wave Cruiser is entitled to summary

    judgment on this issue.

         Because the Court finds that Wave Cruiser has met its burden

    of demonstrating an accidental and fortuitous loss under the

    Policy, the burden shifts to GLI to establish the applicability of

    one or more of the Policy's exclusions. Id.

            C. Policy Exclusions

         As discussed supra the proximate cause inquiry guides this

    Court’s determination of coverage.        St. Paul Fire & Marine Ins.

    Co., 2008   WL   4221635,   at    *3; Lanasa   Fruit   S.S.   &   Importing

    Co., 302 U.S. at 562.       “When the court interprets an insurance

    policy excluding from coverage any injuries ‘caused by’ a certain

    class of conditions, the causation inquiry stops at the efficient

    physical cause of the loss; it does not trace events back to their

    metaphysical beginnings.”        Parks Real Estate Purchasing Grp., 472

    F.3d at 48.      “Only the most direct and obvious efficient cause


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    should be looked to for purposes of the exclusionary clause.”                 Id.

    See, e.g., IAG LLC, 2015 WL 5173055, at *11; Axis Reinsurance Co.,

    2009 WL 1537903, at *3.

           To “negate coverage by virtue of an exclusion, an insurer

    must    establish     that   the      exclusion   is   stated   in    clear   and

    unmistakable        language,    is    subject    to   no   other     reasonable

    interpretation, and applies in the particular case and that its

    interpretation of the exclusion is the only construction that

    could fairly be placed thereon.”              AGCS Marine Ins. Co., 187 F.

    Supp.     3d   at    438.       Such    “exclusions     will    be   given    the

    interpretation which is most beneficial to the insured.”                Stroheim

    & Romann, Inc., 2003 WL 1587339, at *3 (quoting Pan American World

    Airways v. Aetna Casualty & Surety Co., 505 F.2d 989, 999 (2d Cir.

    1974)).

           As previously noted, GLI’s burden of proof “is a heavy one.”

     See AGCS Marine Ins. Co., 187 F. Supp. 3d at 438.                   Compare IAG

    LLC, 2015 WL 5173055, at *11 (holding that the insurer did not

    carry its burden of proof where the “determined cause of this

    loss: failure of the bilge pumps due to interruption of shore

    power” was not expressly excluded in the policy); with Axis

    Reinsurance Co., 2009 WL 1537903, at *3 (finding that the insured

    met its burden       by showing that the proximate cause of the loss,

    “gradual corrosion of the gimbal ring,” was excepted from coverage


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    under the exclusion for losses due to wear and tear, gradual

    deterioration, and/or corrosion).

      1. Engine, Mechanical and Electrical Parts (Exclusion “r”)

         GLI claims that Exclusion r in the Policy applies to preclude

    coverage. Exclusion r states that the following is not covered

    under the policy: “Damage to the Scheduled Vessel's engines,

    mechanical and electrical parts, unless caused by an accidental

    external event, such as collision, impact with a fixed or floating

    object, grounding, stranding, ingestion of a foreign object,

    lightning strike or fire.” (emphasis added)

            In turn, Wave Cruiser avers that to deny coverage based on

    Exclusion r, GLI must prove that the loss falls under Exclusion r.

    To do this, Wave Cruiser asserts, GLI must show that the engine

    failure occurred as a result of an internal cause (excluded)

    rather than an external cause (covered). (ECF No. 31). Wave

    Cruiser argues that because there is no “admissible evidence”

    which shows the cause of the loss was internal rather than

    external, GLI cannot carry its “heavy” burden to show Exclusion r

    applies. Id.

         The Court finds Wave Cruiser’s argument unpersuasive.

         Federal Rule of Evidence 701 provides:

              If a witness is not testifying as an expert,
         testimony in the form of an opinion is limited to one
         that is:


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           (a) rationally based on the witness's perception;
           (b) helpful to clearly understanding the witness's
           testimony or to determining a fact in issue; and
           (c) not based on scientific, technical, or other
           specialized knowledge within the scope of Rule 702.

           Here, Capt. Allen’s observations and opinions documented in

    his reports are rationally based on his perceptions and are

    helpful in determining a fact in issue. In both examinations,

    Capt. Allen observed and reported that the damages were not caused

    by   an   accidental    external   event.    Specifically,     Capt.    Allen

    testified that “we could not find evidence of any external event

    that   would   have    precipitated     the...failure   of    the     engine.”

    (Deposition    of     Capt.   Allen,   23:   12-15,   ECF    49-1).     Stated

    differently,    Capt.    Allen   testified    that    “an   internal    event

    occurred without relation to an external event.” (Deposition of

    Capt. Allen, 25: 5-6, ECF 49-1). Capt. Allen’s also testified

    that, in determining that there was not an external cause for the

    internal event:

           [W]e photographed the parts. We looked at the parts,
           viewed the parts. We examined them for various
           characteristics. And we could not find evidence of, for
           instance, something like failure of cooling water to
           have precipitated the loss.

           (Deposition of Capt. Allen, 25: 12-16, ECF 49-1).

           Wave Cruiser offers no evidence, expert opinion or otherwise,

    refuting Capt. Allen’s reports or findings that there is no

    evidence that the damage to the Vessel’s engine was caused by an


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    external event. More importantly, Wave Cruiser offers no evidence

    that the cause of the loss was caused by an external event and

    that the exception to Exclusion r is applicable.

         Instead, Wave Cruiser asserts that because the cause is

    unknown then an external event cannot be excluded and therefore

    GLI has not met its burden to show that the policy excludes or

    creates    an   exception   to    coverage.       See   Morrison   Grain   Co.,

    Inc., 632 F.2d at 429. Moreover, Wave Cruiser insists incorrectly

    that it is GLI’s burden, and not its own, to prove that the engine

    damage was caused by an external event and that the exception to

    Exclusion r applies. Notably, Wave Cruiser’s argument is based on

    a legal assertion which is made without any basis in caselaw and

    without citation to any relevant authority.

         On    this   record,   GLI   has        sufficiently   established    that

    Exclusion r applies to the loss. In turn, the burden shifts back

    to Wave Cruiser to demonstrate that an exception to the exclusion

    applies.    See French Cuff, Ltd. v. Markel Am. Ins. Co., 322 F.

    App'x 669, 671 (11th Cir. 2009); Ment Bros. Iron Works Co., 702

    F.3d at 122. The total absence of evidence showing an external

    event necessarily means that there is no evidence triggering the

    exception to Exclusion r and coverage for the losses claimed by

    Wave Cruiser is unambiguously barred by the express terms of

    Exclusion r. Therefore, the Court finds that there is no genuine


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    issue of material fact to be resolved concerning exclusion “r.”

    Accordingly, GLI is entitled to summary judgment as it relates to

    exclusion “r.”        Because there is no breach of the insurance

    contract, Defendant’s Counterclaim for Breach of the Covenant of

    Good Faith and Fair Dealing is DISMISSED as moot.

         IV. CONCLUSION


         Based on the foregoing, it is hereby


         ORDERED AND ADJUDGED that Defendant’s Motion for Summary

    Judgment [D.E. 22] is DENIED. It is further


         ORDERED AND ADJUDGED that Defendant’s declaratory judgment

    counterclaim [D.E. 6] is DISMISSED. It is further


         ORDERED AND ADJUDGED that Plaintiff’s Motion for Summary

    Judgment [D.E. 24] is GRANTED. It is further


         ORDERED AND ADJUDGED that Judgment is entered in favor of

    Plaintiff and against Defendant as to Plaintiff’s Third Cause of

    Action and Defendant’s Counterclaim Count I. It is further

         ORDERED    AND    ADJUDGED   that   Defendant’s    request    for   a

    declaration that Wave Cruiser’s recovery for the engine damage and

    loss sustained on June 16, 2019 is barred by Exclusion r of the

    Policy is GRANTED. It is further



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          ORDERED AND ADJUDGED that, pursuant to Federal Rule of Civil

    Procedure 58(a), Plaintiff is directed to submit a proposed order

    of final judgment within fourteen (14) days of this order. It is

    further

          ORDERED   AND   ADJUDGED    that   this    case   is   CLOSED    for

    administrative purposes and all pending motions not addressed by

    this Order are DENIED as moot.



          DONE AND ORDERED in Chambers at Miami, Florida, this 2nd day

    of November, 2020.


                                                s/Donald L. Graham
                                                DONALD L. GRAHAM
                                                UNITED STATES DISTRICT JUDGE
    cc:   All Counsel of Record




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